Case 2:Ol-CV-02188-.]DB-STA Document 96 Filed 07/07/05 Page 1 of 2 Page|D 68

IN THE UNITED STATES DISTRICT COURT _
FOR THE WESTERN DISTRICT OF TENNESSEE ' - -_. D,G,
WESTERN DIVISION '

RACHAEL KATHRYN WHITE, ]'HO§MS M
_ _ CLEHK 3 eastern twin
Plamtlff, W/D Cf,f "_,}_§ §§;;;;p'_£$ T
V. NO. Ol-ZISS-B/An

SUNBELT RENTALS, et al.,

Defendants .

ORDER OF REFERENCE
The above action is hereby referred to the Honorable S. Thomas Anderson, U.S.
Magistrate Judge, for the purpose of conducting a settlement conference

IT IS SO ORDERED.

. DANIEL BREEN \
NIT D sTATES DISTRICT JUDGE

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July 8, 2005 to the parties listed.

F TNNESSEE

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Honorable J. Breen
US DISTRICT COURT

